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                           No. 23-10362
__________________________________________________________________
        IN THE UNITED STATES COURT OF APPEALS
                FOR THE FIFTH CIRCUIT


            ALLIANCE FOR HIPPOCRATIC MEDICINE, ET AL.,
                        Plaintiffs-Appellees,
                                  v.
            U.S. FOOD AND DRUG ADMINISTRATION, ET AL.,
                      Defendants-Appellants,
                                 and
                    DANCO LABORATORIES, LLC,
                       Intervenor-Appellant.


          On Appeal from the United States District Court
       for the Northern District of Texas, No. 2:22-cv-00223-Z


    PLAINTIFFS-APPELLEES’ MOTION TO EXTEND LENGTH LIMIT



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     Pursuant to Circuit Rule 27.1.16, Plaintiffs-Appellees request the

Clerk of Court enter an order extending the length limit for their

principal brief by an additional 3,000 words. Pursuant to Fed. R. App. P.

32(a)(7), Appellees are permitted 13,000 words for their principal brief.

As Appellees are responding to the principal briefs of Federal Appellants

and Intervenor Appellant (which total 25,672 combined words), a modest

extension of the length limit for their principal brief to 16,000 words is

reasonable.

     Appellees contacted Appellants and Intervenor-Appellant counsel

regarding the requested length extension, and both opposed any

additional words.

     Wherefore, Plaintiffs-Appellees respectfully request a modest

extension of their brief limit to 16,000 words.

     Respectfully submitted,
                                       /s/ Erik C. Baptist
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                CERTIFICATE OF COMPLIANCE
     This motion complies with the word limit of Fed. R. App. P.
27(d)(2)(A) because it contains 109 words.
     This motion complies with the typeface requirements of Fed. R.
App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.
32(a)(6) because it has been prepared in Word 365 using a

proportionally spaced typeface, 14-point Century Schoolbook.


Dated: May 1, 2023
                              s/Erik C. Baptist
                              Erik C. Baptist

                       Counsel for Plaintiffs-Appellees




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                   CERTIFICATE OF SERVICE
     I hereby certify that on May 1, 2023, I electronically filed the
foregoing motion with the Clerk of the Court for the United States
Court of Appeals for the Fifth Circuit by using the appellate CM/ECF
system. I certify that all participants in the case are registered CM/ECF
users and that service will be accomplished by the CM/ECF system.


                              s/Erik C. Baptist
                              Erik C. Baptist

                       Counsel for Plaintiffs-Appellees




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